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               EXHIBIT 2
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                           SUPERIOR COURT OF SAN MATEO COUNTY                       FOR COURT USE ONLY
                                            Civil Division
                   400 County Center, 1st Floor, Room A Redwood City, CA 94063
                                           (650) 261-5100
                                                                                            FILED
                                    www.sanmateocourt.org                              SAN MATEO COUNTY
                                                                                                 3/8/2022
PETITIONER/PLAINTIFF: SANJIV N SINGH; SANJIV N SINGH, A PROFESSIONAL
LAW CORPORATION, A CALIFORNIA CORPORATION                                              Clerk of the Superior Court
                                                                                            /s/ Unaloto Finau
RESPONDENT/DEFENDANT: TYLER TECHNOLOGIES, INC., A DELAWARE                                    DEPUTY CLERK
CORPORATION; DOES 1 THROUGH 50

         NOTICE OF ASSIGNMENT FOR ALL PURPOSES (CIVIL) AND                          CASE NUMBER:
                                                                                     22-CIV-00985
             NOTICE OF CASE MANAGEMENT CONFERENCE
By order of the Presiding Judge pursuant to San Mateo County Superior Court Local Rule 3.200(a) the above entitled
matter is assigned for all purposes to: Robert D Foiles in Department 21.

       An Initial Case Management Conference is set before the Civil Commissioner, as follows:
                                          DATE: 7/6/2022
                                          TIME: 9:00 AM
                     LOCATION: 1050 Mission Road, South San Francisco, CA 94080

APPEARANCES SHALL BE REMOTE ONLY. Please visit our website at for information on remote appearances:
https://www.sanmateocourt.org/general_info/remote_appearance.php

ASSIGNED DEPARTMENT INFORMATION

To schedule a Law and Motion Hearing, please see Local Rule 3.402, or visit the assigned Judicial Officer’s webpage
at: www.sanmateocourt.org/civiljudges.

Contact information for your assigned department is as follows:

     Judicial Officer                 Department Phone                 Department E-mail
     Robert D Foiles                  650-261-5121                     Dept21@sanmateocourt.org



CASE MANAGEMENT CONFERENCE INFORMATION

You are hereby given notice of your Initial Case Management Conference. The date, time and department are noted
above.

1. In accordance with applicable California Rules of the Court and Local Rules, you are hereby ordered to:
    a) Serve all named defendants and file proofs of service on those defendants with the court within 60-days of
       filing the complaint (CRC 3.110(b); Local Rule 3.804).
    b) Serve a copy of this Notice, blank form of the Case Management Statement and ADR Information Package on
       all named parties in this action (Local Rule 3.804(a)). Documents are available online under the CIVIL CMC
       Packet section at: http://sanmateocourt.org/court_divisions/civil/
    c) File and serve a completed Case Management Statement at least 15 days before the Case Management
       Conference (CRC 3.725; Local Rule 3.805(c)). Failure to do so may result in monetary sanctions or the
       continuance of the CMC.

                                                                                                   Rev. November 2020
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     d) Meet and confer, in person or by telephone, to consider each of the issues identified in CRC 3.724 no later
        than 30 days before the date set for the Case Management Conference (Local Rule 3.805(b)).

2. Parties may proceed to an Appropriate Dispute Resolution process (“ADR”) by filing a Stipulation and Order to
   ADR (Local Form ADR-CV-1). File and serve the completed Stipulation and Order to ADR form at least 12 days
   prior to the Case Management Conference (Local Rule 3.805(f)). You may find this form and information
   regarding the Civil ADR Program online at http://sanmateocourt.org/court_divisions/adr/civil/

For additional information, you may visit the Judicial officer’s webpage at: www.sanmateocourt.org/civiljudges



                                               CLERK’S CERTIFICATE OF SERVICE
I hereby certify that I am the clerk of this Court, not a party to this cause; that I served a copy of this notice on the below date,
    by hand     by electronic service to the parties or their counsel of record at the email addresses set forth below and shown by
the records of this Court or      by placing a copy thereof in separate sealed envelopes addressed to the address shown by the
records of this Court, and by then sealing said envelopes and depositing same, with postage fully pre-paid thereon, in the United
States Mail at Redwood City, California.

Date: 3/8/2022
                                                              Neal I Taniguchi, Court Executive Officer/Clerk
                                                        By: /s/ Unaloto Finau
                                                             Unaloto Finau, Deputy Clerk
Notice being served on:



    SANJIV N SINGH
    SANJIV N SINGH A PROFESSIONAL LAW CORPORATION
    1650 SOUTH AMPHLETT BOULEVARD
    SUITE 220
    SAN MATEO CA 94402




    MICHAEL INDRAJANA
    INDRAJANA LAW GROUP A PROFESSIONAL LAW CORPORATION
    1650 SOUTH AMPHLETT BOULEVARD
    SUITE 220
    SAN MATEO CA 94402




                                                                                                                Rev. November 2020
